Case 3:16-cr-00411-VC Document 116-3 Filed 09/19/17 Page 1 of 4




                    Exhibit 3
Case 3:16-cr-00411-VC Document 116-3 Filed 09/19/17 Page 2 of 4
Case 3:16-cr-00411-VC Document 116-3 Filed 09/19/17 Page 3 of 4
                                   Case 3:16-cr-00411-VC Document 116-3 Filed 09/19/17 Page 4 of 4
(7623 unread) - nmorgovsky@yahoo.com - Yahoo Mail                                                                                                  6/19/17, 6(18 PM


    Home         Mail        Search     News          Sports     Finance   Celebrity   Weather     Answers     Flickr    Mobile      More


                                        All      Search                                              Search Mail        Search Web          Home         N


             
     Compose                             Search results                      Archive                         More


  Inbox (7623)                          Re: Scan black & white (2)
  Drafts (60)

  Sent                                  From: Naum, Naum Morgovsky, Morgovsky <nmorgovsky@yahoo.com>;
                                        To: <nmorgovsky@yahoo.com>;
  Archive                               Sent: Tue, Dec 14, 2010 5:12:37 PM
  Spam (33)
                                        800-463-3339
  Trash

  Smart Views                           9-5
    Important                           2218 Old Middleﬁel d Way Suite L, mtn view 94043
    Unread
                                        650 965-4822
    Starred
    People                              Leila Freeman
    Social
                                        Auto Export Group c/o AEL
    Shopping
                                        Attn.: Oleg Shkoda/ Ben
    Travel                              13500 S. Figueroa St.
    Finance                             Los Angeles, CA 90061
  Folders
                                        M-F, 8am-5pm (PST)
                                        Tel.:1-310-806-7088
  Recent                                Fax :1-951-296-9080

  Sponsored                                       1. 28.5x20.5x7.5 – 148#
                                                  2. 19x15x14 – 23.4#
                                                  3. 23x17x11 – 21.45#
                                                  4. 28x24x14 – 43.7#
                                                  5. 24x13x16 – 26.2#
                                                  6. 26x13x16 – 26.7#
  Starpulse.com                                   289.45/2.2= 131.57kg
  15 Hottest Wives & Girlfriends
  in Sports
                                                  Fedex 464345060

                                                  No. 997095150624821-Eli El Salvador
                                                  Bill, Eddy, Corey Lawrens with customer advocate team in Atlanta




                                        Vision Te….pdf




                                              Reply        Reply to All    Forward     More



                                        Naum, Naum Morgovsky, Morgovsky                                       12/14/10 at 3:44 PM

   Try the new Yahoo Mail


https://mg.mail.yahoo.com/neo/launch?.rand=8mp9vphhvhclp#1965736000                                                                                     Page 1 of 1
